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 4
 5   Attorneys for Defendant
     JOSEPH LATU
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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  Case No.: 2:15-CR-00209 JAM
12               Plaintiff,
                                                STIPULATION AND ORDER
13        vs.                                   CONTINUING STATUS CONFERENCE
14   JOSPEH LATU, et al.
15               Defendant.
16
17        The United States of America, through its counsel Assistant
18   U. S. Attorney Christiaan H. Highsmith; Joseph Latu, through his
19   counsel Clyde M. Blackmon; Algernon Tamasoa, through his counsel
20   Kyle R. Knapp; John Ortiz, through his counsel Jeffrey L.
21   Staniels; Keith White, through his counsel Chris Cosca; Charles
22   Tucker, through his counsel Olaf W. Hedberg; Ionel Pascan,
23   through his counsel Shari Rusk; David Bennett, through his
24   counsel Michael D. Long; and Daniel Bennett, through his counsel
25   Steven B. Plesser stipulate that the status conference currently
26   set for January 12, 2016, may be continued to 9:15 a.m. on March
27   15, 2016.
28        A continuance of the currently set status conference is


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            STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE
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 1   necessary because the prosecution has provided defense counsel
 2   in discovery with 42 DVDs containing audio/video recordings and
 3   over 2,000 pages of reports, and defense counsel requires more
 4   time in which to review those materials.          Therefore, the parties
 5   request that the status conference set for January 12, 2016, be
 6   continued to 9:00 a.m. on March 15, 2016.
 7          The parties further stipulate that the time from the
 8   currently set status conference on January 12, 2016, through
 9   March 15, 2016, the requested date for the continued status
10   conference, should be excluded from the computation of the time
11   period in which trial should commence under the Speedy Trial
12   Act.   The parties agree that, taking into account the exercise
13   of due diligence, the ends of justice would be served by the
14   Court excluding that time period from computation because of the
15   necessity for defense counsel to have adequate time in which to
16   effectively prepare for trial.        18 U.S.C. § 3161(h)(7)(B)(iv)
17   (Local Code T4).
18          For these reasons, each defendant, his counsel and the
19   government stipulate that the ends of justice served by granting
20   the requested continuance of the status conference outweigh the
21   best interests of the public and each of the defendants in a
22   speedy trial.
23          IT IS SO STIPULATED.
24   DATED:      January 7, 2016         By: //s// Clyde M. Blackmon for
                                                   Christiaan H. Highsmith,
25                                                 Assistant U.S. Attorney
26
27   DATED:      January 7, 2016         By: _//s// Clyde M. Blackmon___
                                                 CLYDE M. BLACKMON
28                                               Attorney for Defendant
                                                 Joseph Latu

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 1   DATED:      January 7, 2016         By: _//s// Clyde M. Blackmon___
                                                 KYLE R. KNAPP
 2                                               Attorney for Defendant
                                                 Algernon Tamasoa
 3
 4   DATED:      January 7, 2016         By: _//s// Clyde M. Blackmon___
                                                 JEFFREY L. STANIELS
 5                                               Attorney for Defendant
                                                 John Ortiz
 6
 7   DATED:      January 7, 2016         By: _//s// Clyde M. Blackmon___
                                                 CHRIS COSCA
 8                                               Attorney for Defendant
                                                 Keith White
 9
10   DATED:      January 7, 2016         By: _//s// Clyde M. Blackmon___
                                                 OLAF W. HEDBERG
11                                               Attorney for Defendant
                                                 Charles Tucker
12
13   DATED:      January 7, 2016         By: _//s// Clyde M. Blackmon___
                                                 SHARI RUSK
14                                               Attorney for Defendant
                                                 Ionel Pascan
15
16   DATED:      January 7, 2016         By: _//s// Clyde M. Blackmon___
                                                 MICHAEL D. LONG
17                                               Attorney for Defendant
                                                 David Bennett
18
19   DATED:      January 7, 2016         By: _//s// Clyde M. Blackmon___
                                                 STEVEN B. PLESSER
20                                               Attorney for Defendant
                                                 Daniel Bennett
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              STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE
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 1                                       ORDER
 2        GOOD CAUSE APPEARING upon the stipulation of the parties it
 3   is ordered that the status conference currently set for January
 4   12, 2016, is continued to March 15, 2016, at 9:15 a.m.              For the
 5   reasons stipulated to by the parties, good cause exists under 18
 6   U.S.C. § 3161(h)(7)(B)(iv), and time is excluded under the
 7   Speedy Trial Act through March 15, 2016.          Further, for the
 8   reasons set forth in the stipulation of the parties, the ends of
 9   justice served by granting this continuance outweigh the best
10   interests of the public and each of the defendants in a speedy
11   trial.    18 U.S.C. § 3161(h)(7)(B)(iv) (Local Code T4).
12   Dated: January 7, 2016             /s/ John A. Mendez__________
          _____________________________
13                                      JOHN A. MENDEZ
                                        United States District Judge
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              STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE
